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                    UNITED STATES COURT OF APPEALS                          FILED
                            FOR THE NINTH CIRCUIT                           APR 21 2025
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
PACITO; et al.,                                  No. 25-1313
                                                 D.C. No.
             Plaintiffs - Appellees,             2:25-cv-00255-JNW
                                                 Western District of Washington,
 v.                                              Seattle
DONALD J. TRUMP, in his official                 ORDER
capacity as President of the United States; et
al.,

             Defendants - Appellants.

                                                 No. 25-1939
PACITO; et al.,
                                                 D.C. No.
                                                 2:25-cv-00255-JNW
             Plaintiffs - Appellees,
                                                 Western District of Washington,
                                                 Seattle
 v.

DONALD J. TRUMP, in his official
capacity as President of the United States; et
al.,

             Defendants - Appellants.

Before: SILVERMAN, BADE, and DE ALBA, Circuit Judges.

      The government has moved for clarification or reconsideration of our March

25, 2025, order granting in part and denying in part its motion for an emergency

stay of the district court’s preliminary injunction. Our previous order denied the

government’s stay request “to the extent the district court’s preliminary injunction
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order applies to individuals who were conditionally approved for refugee status”

by the United States Citizenship and Immigration Services (USCIS) before January

20, 2025. Dkt. 28 at 1. We reasoned that “Executive Order No. 14163 does not

purport to revoke the refugee status of individuals who received that status under”

the United States Refugee Admissions Program (USRAP) prior to that date. Id.

Our order did not define conditional approval.

      Before the district court, the parties have agreed that, for I-590 refugees, the

term “means any applicant for whom, prior to January 20, 2025, USCIS granted

conditional approval for refugee status, including by generating and/or transmitting

a ‘Notice of Eligibility for Resettlement’ or equivalent document,” and for I-730

refugees, the term means “successful completion of USCIS domestic processing

(either the petition was approved and forwarded to the Department of State, or, the

petition was sent to a USCIS international field office overseas).” Pacito, et al. v.

Trump, et al., 2:25-cv-00255-JNW, Dkt. 112 at 1 n.1 (W.D. Wash. Apr. 18, 2025)

(Dist. Dkt.). Under these definitions, the parties have construed our carveout

broadly enough to swallow the entire stay order. The government represents that

“almost 130,000 individuals were conditionally approved for refugee approval

before January 20, 2025.” Dkt. 45 at 4. Plaintiffs clearly grasp that our order was

intended to apply to those “refugees furthest along in the process . . . like Plaintiff

Pacito, who sold all of his belongings in anticipation of flying to safety in the



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United States and was forced to shelter with his wife and baby in the parking lot of

the U.S. embassy in Nairobi after their travel was abruptly cancelled.” Dkt. 44 at

12. Nevertheless, they believe our order applies to tens of thousands of

individuals. See Dist. Dkt. 112 at 13 (arguing that the government has “proposed

no measures to resume travel for the tens of thousands of refugee applicants who

have completed the application process and been deemed ready for departure by”

the government). Our order was not intended to compel the government to admit

more refugees than authorized for the entire Fiscal Year 2025. See Presidential

Determination No. 2024-13, Presidential Determination on Refugee Admissions

for Fiscal Year 2025: Memorandum for the Secretary of State, 89 Fed. Reg. 83767

(Sept. 30, 2024) (setting the maximum number of refugees for Fiscal Year 2025 at

125,000).

      The factors outlined in Nken v. Holder, 556 U.S. 418, 426 (2009), broadly

favor a stay pending appeal. The first factor is the likelihood of success on the

merits. As we indicated with our citation to Trump v. Hawaii, 585 U.S. 667

(2018), the government is likely to succeed on the merits. See id. at 684 (“By its

terms, § 1182(f) exudes deference to the President in every clause.”). The second

factor is whether the stay applicant is likely to be irreparably injured absent a stay.

Nken, 556 U.S. at 425. We concluded that there was little chance of irreparable

harm to the government from permitting those refugee applicants who were



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conditionally approved and in transit, as defined below, to complete their

resettlement. We reasoned that such applicants could demonstrate a strong

reliance interest on the government’s approval process because they needed only to

complete their arranged travel to the United States. In contrast, there is a

significant chance of irreparable harm to the government from compelling it to

process over 100,000 conditionally approved applications that it would otherwise

be permitted to discontinue. The other two Nken factors—injury to third parties

and the public interest—are best settled by deference to the President’s “broad

discretion to suspend the entry of aliens into the United States.” Hawaii, 585 U.S.

at 683–84.

      Accordingly, the government’s motion to clarify the scope of our previous

order, Dkt. 35, is GRANTED. The stay request is denied to the extent that the

district court’s preliminary injunction order applies to individuals who met the

following conditions on or before January 20, 2025: (1) the individual had an

approved refugee application authorizing Customs and Border Protection to admit

the individual “conditionally as a refugee upon arrival at the port within four

months of the date the refugee application was approved,” 8 C.F.R. § 207.4; (2) the

individual was cleared by USCIS for travel to the United States; and (3) the

individual had arranged and confirmable travel plans to the United States. The

preliminary injunction remains in effect for these individuals only, and the



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government must resume their processing, facilitation of travel to the United

States, admission, and provision of resettlement benefits after admission. The

preliminary injunction order is stayed in all other respects.




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